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                                                                  June 30, 2017

  The Honorable Michael A. Hammer, U.S.M.J.
  United States District Court
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07102

  Re:    WAG Acquisition L.L.C.       v.   MultiMedia, LLC, eta!. (14-cv-02340);
         WAG Acquisition L.L.C.       v.   WMMLLC, eta!. (14-cv-02345);
         WAG Acquisition L.L.C.       v.   Flying Crocodile, eta!. (14-cv-02674);
         WAG Acquisition L.L.C.       v.   Gattyan Group S.a.r.!, et a!. (14-cv-02832);
         WAG Acquisition L.L. C.      v.   FriendFinder Networks Inc., et a!. (14-cv-03456);
         WAG Acquisition L.L.C.       v.   Vubeology, Inc., et aL (14-cv-04531); and
         WAG Acquisition L.L.C.       v.   WebPower, Inc., et a!. (15-cv-03581)

  Dear Judge Hammer:

          This Firm represents the Defendants in the above-captioned matters. We write to
  respectfully request leave of Court to take the deposition of Patrick O’Brien following the close
  of fact discovery. Defendants previously scheduled this individual’s deposition by way of their
  May 24, 2017 notice, but due to unforeseen medical circumstances his deposition had to be
  cancelled.

         The Parties have conferred, and WAG consents to this request. Therefore, if this
  application meets with the Court’s approval, Defendants respectfully request that this letter be
  signed on the “So Ordered” line provided below and entered on the Court’s docket.

         We thank the Court for its kind consideration of this submission. Should Your Honor have
  any questions, we are available at the Court’s convenience.

                                                           Respectfully,


                                                           s/ Justin T. Quinn
                                                           Justin T. Quinn
   SO ORDERED:
     SO ORDERED
      sfMichp4A. HammerI
  Hokhjl A.                   I I   IVT

    Michael A. Hammer, U.S.M.IT.
     Date: 7&Jl7
